Case 2'04-CV-02894-BBD-tmp Document 20 Filed 04/25/05 Page 1 of 2 Page|D 31

UNITED STATES DISTRICT COURT
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SHELBY COUNTY HEALTH CARE JUDGMENT IN A CIVIL CASE
CORPORATION d/b/a REGIONAL

MEDICAL CENTER

v.

WILLIE DALTON, et al, CASE NO: 04~2894 DP

 

DECISION BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS SO ORDERED AND ADJUDGED that in accordance with the Order
granting plaintiff's motion to remand the case to state court
entered on April 12, 2005, this cause is hereby dismissed.

  

 

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Clerk of Court

(By) Deputy ;§Z::€F>g"’///

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Notice of Distribution

This notice confirms a copy of the document docketed as number 20 in
case 2:04-CV-02894 Was distributed by faX, mail, or direct printing on
April 26, 2005 to the parties listed.

ESSEE

 

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Honorable Bernice Donald
US DISTRICT COURT

